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 3   (916) 447-1646
 4   Attorney for Defendant
     JOSEPH J. LEONE
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 8                               IN THE UNITED STATES DISTRICT COURT
 9                      IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         Case No.: Cr. CR S-07-510
12                  Plaintiff,                         STIPULATION AND (PROPOSED) ORDER.
13          vs.
14   JOSEPH JOHN LEONE, et al.
15                  Defendants.
16

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18                                           STIPULATION
19          This matter is scheduled for Status Conference on July 11, 2008, at 9:00 a.m., in the
20   courtroom of the Honorable Garland E. Burrell, Jr. I have contacted Dwight Samuel, counsel for
21   the co-defendant, and AUSA Mary Grad, counsel for the United States, and they have all
22   agreed, subject to the court’s approval, to continue this matter until August 1, 2008, at 9:00 a.m.
23          All parties hereby agree and stipulate to a continuance of the Status Conference that is
24   scheduled for July 11, 2008, to August 1, 2008, at 9:00 a.m. in the courtroom of the Honorable
25   Garland E. Burrell, Jr. They further stipulate to the exclusion of time through that date pursuant
26   to Local Code T-4, as the above continuance is necessary for preparation of counsel.
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     STIP & ORDER

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 1   DATED:      7-9-08    _____                  /s/ C. Emmett Mahle
 2                                               C. EMMETT MAHLE
                                                 Attorney for Defendant
 3                                               JOSEPH JOHN LEONE
 4
     DATED:      7-9-08    _____                  /s/ Dwight Samuel
 5                                               DWIGHT SAMUEL
                                                 Attorney for Defendant
 6                                               MORRIS FRAZIER
 7
     DATED:      7-9-08    _____                  /s/ Mary Grad
 8                                               MARY GRAD
                                                 Assistant U.S. Attorney
 9

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                                         (PROPOSED) ORDER
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                    GOOD CAUSE APPEARING, and by stipulation of all counsel, the Status
13
     Conference that is scheduled for July 11, 2008, at 9:00 a.m., is hereby continued to August 1,
14
     2008, at 9:00 a.m., in the courtroom of the Honorable Garland E. Burrell, Jr. Time is excluded
15
     through that date pursuant to Local Codes T-4 for preparation of counsel.
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17
     DATED: 7/11/08
18                                               GARLAND E. BURRELL, JR.
                                                 United States District Judge
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     STIP & ORDER

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